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United States Courts
Southern District of Texas
FILED
| UNITED STATES DISTRICT COURT AUG | 0 2023
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION Nathan Ochsner, Clerk of Court
UNITED STATES OF AMERICA §
§ CASE NO. 4:23-cr-218
VS.
§
(1) HARDIK JAYANTILAL PATEL, :
aka Erik aka Mitesh aka Nick aka Dev, and §
(2) DHIRENKUMAR VISHNUBHAI PATEL, :
Defendants. §
MOTION TO UNSEAL

The United States respectfully moves this Honorable Court to unseal the Indictment and
all other documents on file under this case. The documents were originally sealed pending the
arrest of all defendants, who were considered by the Government to be a risk of flight. The
Government has been informed that all defendants are now in custody, and the case no longer
requires sealing.

Respectfully Submitted,

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